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 9
10                               UNITED STATES DISTRICT COURT
11
                             NORTHERN DISTRICT OF CALIFORNIA
12
                                        OAKLAND DIVISION
13
     IN RE CATHODE RAY TUBE (CRT)                )   MDL NO. 1917
14   ANTITRUST LITIGATION                        )
                                                 )   Case No. 07-cv-5944-JST
15                                               )
     This Document Relates to:                   )   INDIRECT PURCHASER PLAINTIFFS’
16                                               )   ADMINISTRATIVE MOTION TO
     Indirect Purchaser Class Action             )   CONSIDER WHETHER ANOTHER
17
                                                 )   PARTY’S MATERIAL SHOULD BE
18                                               )   SEALED PURSUANT TO CIVIL LOCAL
                                                 )   RULES 7-11 AND 79-5(f)
19                                               )
                                                 )
20                                               )   The Honorable Jon S. Tigar
21                                               )
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        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
                          79-5(f); MDL No. 1917; Case No. 07-cv-5944-JST
             Case 4:07-cv-05944-JST Document 6297 Filed 09/01/23 Page 2 of 3




 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), the Indirect Purchaser Plaintiffs (“IPPs”)

 2   hereby move the Court to consider whether material designated as confidential by defendants Irico

 3   Group Corporation and Irico Display Devices Co., Ltd. (“Irico”).

 4          IPPs have reviewed and complied with this Court’s Standing Order Governing

 5   Administrative Motions to File Materials Under Seal Before District Judge Jon S. Tigar (Mar. 14,

 6   2022) and Civil Local Rule 79-5, including the requirement to file separate motions if a party seeks

 7   to file under seal a document containing “portions that more than one party bears the burden of

 8   showing is sealable.” Civil L.R. 79-5(f)(5). This motion relates solely to materials designated

 9   confidential by Irico. IPPs are filing the following documents designated by Irico as
10   “CONFIDENTIAL” under the terms of the Stipulated Protective Order, ECF No. 306,
11   provisionally under seal:
12     Document Filed Provisionally Under Seal                       Designating Entity
13    Ex. 11 to Dever Decl. In Support of IPPs’         Irico Group Corporation and Irico Display
      Response to Irico Defendants’ MIL No. 4           Devices Co., Ltd.
14    IRI-CRT-00001155 (Chinese original and
15    certified English translation)

16    Ex. 14 to Dever Decl. In Support of IPPs’         Irico Group Corporation and Irico Display
      Response to Irico Defendants’ MIL No. 4           Devices Co., Ltd.
17    (IRI-CRT-00023923-24 (Chinese original and
      certified English translation))
18

19    Ex. 16 to Dever Decl. In Support of IPPs’         Irico Group Corporation and Irico Display
      Response to Irico Defendants’ MIL No. 4           Devices Co., Ltd.
20    (IRI-CRT-00033206-09 (Chinese original and
      certified English translation))
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22
            Civil Local Rule 79-5 governs the filing under seal of documents in civil cases. In
23
     compliance with Civil Local Rule 79-5(f), IPPs submit this Motion in order to file (a) material
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     designated by Irico pursuant to the Stipulated Protective Order, ECF No. 0306, as “Confidential”
25
     or “Highly Confidential;” or (b) references to or quotations from material or data designated by
26
     Irico pursuant to the Stipulated Protective Order as “Confidential” or “Highly Confidential.” IPPs
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        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
                         79-5(F); MDL NO. 1917; CASE NO. 07-CV-5944-JST
             Case 4:07-cv-05944-JST Document 6297 Filed 09/01/23 Page 3 of 3




 1   seek to file the above material under seal in good faith in order to comply with the Protective Order

 2   in this action and the applicable Local Rules. Under Civil L.R. 79-5(c) and (f), the parties that

 3   contend the material they have designated is confidential in nature bear the burden to establish that

 4   the designated information meets the requirements for sealing. See Kamakana v. City of Honolulu,

 5   447 F.3d 1172, 1178-80 (9th Cir. 2006). IPPs understand that, given the Court’s direction at the

 6   hearing on Direct Purchaser Plaintiffs’ November 19, 2021 sealing motion (ECF No. 5966), the

 7   designated materials subject to this motion may not qualify for filing under seal. IPPs contacted

 8   Irico prior to filing this motion and requested that Irico permit IPPs to file these documents in the

 9   public record, but Irico declined to do so. Accordingly, IPPs respectfully submit this administrative
10   motion pursuant to the Stipulated Protective Order and Civil Local Rule 79-5(f).
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     Dated: September 1, 2023                      By: /s/ Lauren C. Capurro
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        INDIRECT PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED PURSUANT TO CIVIL LOCAL RULES 7-11 AND
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